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6                               UNITED STATES DISTRICT COURT
7                                      DISTRICT OF NEVADA
8                                                 ***
9    UNITED STATES OF AMERICA,                         Case No. 3:16-cr-00029-MMD-WGC
10                                        Plaintiff,                   ORDER
            v.
11
     ROBERT GENE RAND, et al,
12
                                      Defendants.
13

14          This Order addresses two of the remaining three motions in limine filed by

15   Defendant Robert Gene Rand (“Rand”). (ECF Nos. 328, 329.)1 In particular, Rand seeks

16   to exclude: (1) testimonies of Rand’s current and former patients who had received

17   Oxycodone prescriptions from Rand (ECF No. 328); and (2) testimonies offering opinions

18   that Rand’s alleged conduct fell below the standard of care as it relates to any

19   prescriptions for controlled substances (ECF No. 329).2 The government argues that

20   Rand’s motions ask for broad exclusion and should be denied at this time because the

21   government has not proffered the claimed evidence yet. (ECF Nos. 400, 386.)

22          “A motion in limine is a procedural mechanism to limit in advance testimony or

23   evidence in a particular area.” United States v. Heller, 551 F.3d 1108, 1111 (9th Cir.

24   2009). It is a preliminary motion that is entirely within the discretion of the Court. See Luce

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            1The Court has reviewed the government’s responses (ECF Nos. 400, 386) and
26   Rand’s replies (ECF No. 407, 396).
             2Rand offers as an example a letter from Dr. David G. Greenberg to DEA Special
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     Agent Michael Kellerman that Rand’s management of the opioid prescriptions to the
28   victim identified in count 14 fell below the standard of care. (ECF No. 329 at 2.)
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1    v. United States, 469 U.S. 38, 41–42 (1984). To exclude evidence on a motion in limine,

2    “the evidence [must be] inadmissible on all potential grounds.” Ind. Ins. Co. v. Gen. Elec.

3    Co., 326 F. Supp. 2d 844, 846 (N.D. Ohio 2004) (citing Luce, 469 U.S. at 41 n.4). “Unless

4    evidence meets this high standard, evidentiary rulings should be deferred until trial so

5    that questions of foundation, relevancy and potential prejudice may be resolved in proper

6    context.” Hawthorne Partners v. AT&T Techs., Inc., 831 F. Supp. 1398, 1400 (N.D. Ill.

7    1993).

8             The Court construes the government’s responses to indicate that the government

9    may not be offering the evidence that Rand seeks to exclude. Moreover, it is not clear to

10   the Court that the disputed evidence is inadmissible on all potential grounds. Accordingly,

11   the Court finds that a ruling on the evidentiary issues raised in Rand’s motions in limine

12   should be deferred until trial, when the Court may consider admissibility in the context of

13   the other evidence presented.

14            For these reasons, Rand’s two motions in limine (ECF Nos. 328, 329) are denied

15   without prejudice.

16            DATED THIS 10th day of April 2017.
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18                                                     MIRANDA M. DU
                                                       UNITED STATES DISTRICT JUDGE
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